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                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York


                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     March 31, 2015


By ECF
Hon. Katherine B. Forrest
United States District Judge
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, New York 10007

               Re:    United States v. Ross William Ulbricht, S1 14 Cr. 68 (KBF)

Dear Judge Forrest:

         Yesterday, the Government submitted a letter requesting the unsealing of certain sealed
filings in this matter (the “Sealed Filings”), which the Court so-ordered. Pursuant to the Court’s
order, please find the Sealed Filings attached.

                                                     Respectfully,

                                                     PREET BHARARA
                                                     United States Attorney


                                                 By: ______________________________
                                                     SERRIN TURNER
                                                     TIMOTHY T. HOWARD
                                                     Assistant United States Attorneys
                                                     Southern District of New York

Cc:    Joshua Dratel, Esq. (by ECF)
